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                                UNITED STATES DISTRICT COURT
                                WESTER DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                  Plaintiff

 v.                                                          Case No. 3:19-CR-00019-DJH-RSE

 BRYAN DOUGLAS CONLEY,                                              Electronically Filed

                                  Defendant.


______________________________________________________________________________

               REPLY BRIEF IN SUPPORT OF MOTION TO SEVER
______________________________________________________________________________

           In its responsive briefing, the Government attempts to connect Count 1 with Counts 2-14

by narrating a series of factual allegations not found in the Second Superseding Indictment. But

Sixth Circuit precedent requires Count 1 to be severed from Counts 2-14 because the

Government failed to establish such a connection on the face of the indictment. And, even if the

Government’s narration were to be considered in determining whether joinder was proper in the

first instance under Fed. R. Cr. P. 8(a), which it should not be, Fed. R. Cr. P. 14 justifies

severance due to the compelling, specific, and actual prejudice Mr. Conley would suffer if Count

1 were tried with Counts 2-14.

      I.       Fed. R. Cr. P. 8(a) requires severance because the face of the Second
               Superseding Indictment does not establish a connection between Count 1 and
               Counts 2-14.

           As stated in Mr. Conley’s motion to sever, the Sixth Circuit has held that whether joinder

under Fed. R. Crim. P. 8(a), in the first instance, is proper is to be determined on the face of the

indictment. United States v. Chavis, 296 F.3d 450, 456 (6th Cir. 2002). The Government does

not address this fact and, instead, completely fails to articulate how – on the face of the
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indictment – joinder of Count 1 with Counts 2-14 was proper. As Chavis counsels, where

joinder does not comport with Fed. R. Cr. P. 8(a), as determined by a four-corners analysis of the

indictment, “the district court has no discretion on the question of severance.” Id. at 457. Thus,

for this reason alone, severance is the proper remedy in this case.

          Instead of arguing joinder was proper under a four-corners analysis, the Government sets

forth a litany of factual allegations1 not found in the Second Superseding Indictment in arguing

that joinder was proper under Fed. Crim. R. 8(a) “because the offenses are of the same or similar

character or are connected with or constitute parts of a common scheme or plan.” (R. 135 at 2,

4-5.) According to the Government, these factual allegations underlying Count 1 mirror conduct

underlying Counts 2-14. (R. 135 at 2-3.) But the Government’s attempt to establish a

connection by way of including this narration of events in its Response is improper because, as

already stated, “[w]hether joinder was proper under Rule 8(a) is determined by the allegations on

the face of the indictment.” United States v. Chavis, 296 F.3d 450, 456 (6th Cir. 2002) (emphasis

added).

          In its entirety, Count 1, according to the Second Superseding Indictment, alleges:

          On or about November 8, 2018 through November 12, 2018, in the Western District
          of Kentucky, Oldham County, and elsewhere, the defendant Bryan Douglas
          Conley, knowingly transported, and attempted to transport, a person, female 1, in
          interstate commerce with the intent that the individual engage in prostitution and in
          sexual activity for which any person can be charged with a criminal offense.

(R. 45 at 1.) That is all the Second Superseding Indictment says about the allegations set forth in

Count 1. Conversely, the remaining thirteen counts in the indictment allege a range of offenses




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  One of the factual allegations outlined by the Government in its Response is that the female involved with Count 1
was a minor,(R. 135 at 1-2), which is not ascertainable from the face of the Indictment, but certainly highlights why
Mr. Conley, under Fed. R. Cr. P. 14(a), would suffer compelling, specific, and actual prejudiced if all counts are
tried together.


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from kidnapping, to bank fraud, to aggravated identity theft, to making interstate threats. Id. at

2-13. And, unlike the bare-bones pleading style used in drafting Count 1, the Second

Superseding Indictment includes a detailed set of factual allegations spanning four pages in an

attempt to support the offenses charged in Counts 2-14.

        The Government’s attempt to justify joinder of Count 1 with Counts 2-14 simply cannot

pass a four-corners analysis. The factual allegations set forth in the Government’s Response,

because omitted from the charged conduct articulated in the indictment, cannot be considered

when determining whether joinder was proper in the first instance under Fed. R. Cr. P. 8(a).

The analysis stops here, and the Court must, under Chavis, sever Count 1 from Counts 2-14.

  II.       The Government’s reliance on Johnson and Jacobs is misplaced.

        The Government relies on Johnson v. United States, 356 F.2d 680 (8th Cir. 1966) and

United States v. Jacobs, 244 F.3d 503 (6th Cir. 2001) to support its argument that Count 1 is

properly joined, under Rule 8(a), with Counts 2-14. (R. 135 at 5.) In Johnson, all five counts in

the indictment were for a violation of the Mann Act, 18 U.S.C. § 2421. Johnson, 356 F.2d at

681. “The indictment alleg[ed] the transportation of various females for the purposes of

prostitution, debauchery and other immoral purposes” over a four-month period. Id. at 681-82.

Necessarily, because all offenses charged were the same, the Government needed to prove the

same elements with regard to each count even if the victims were different and the events

occurred on separate dates. That is distinct from the case at bar, where none of the charged

offenses are the same and none of the elements involved with Count 1 of the Second Superseding

Indictment need be proven in trying the offenses charged in Counts 2-14, and vice versa.

        In Jacobs, the question was whether joinder was appropriate for charges relating to a

Tennessee abduction event with charges relating to an Indiana abduction event, both of which

involved the defendant’s wife as the victim and both of which were spurred by the defendant’s


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wife filing criminal charges against the defendant.2 Jacobs, 244 F.3d at 505-506. The facts of

Jacobs are inapposite to the facts involved with the instant case. Here, the alleged victim of

Count 1 is not the same alleged victim for Counts 2-14, which is clear from the face of the

indictment, and there is no suggestion that the allegations related to Count 1 and Counts 2-14

were spurred by any common occurrence. Furthermore, there are no overlapping charges

wherein the elements involved with Count 1 are the same as the elements involved in Counts 2-

14, as was the case in Jacobs. Simply put, the Government’s reliance on Johnson and Jacobs is

misplaced.

    III.       The Government’s F.R.E. 404(b) argument does not correct the misjoinder.

           The Government attempts to correct the misjoinder of Count 1 with Counts 2-14 by

arguing that the evidence supporting Count 1 would come in to a trial on Counts 2-14, and vice

versa. (R. 135 at 5-6.) The Government uses this argument in an attempt to overcome the

prejudicial factor of Fed. R. Cr. P. 14(a). However, that argument is misplaced, and the

Government has pointed to no authority to suggest evidence admissible under F.R.E. 404(b), if

that would even occur here, automatically corrects a misjoinder under Fed. R. Crim. P. 8(a).

           Furthermore, admissibility under 404(b) is mere speculation at this point. The

Government predicts that factual allegations, in whole or in part, set forth in its Response

supporting Count 1would come in during a trial on Counts 2-14, and vice versa, but it cannot say

with certainty that this true. This is not a 404(b) hearing and, while the Government’s 404(b)



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  The Government incorrectly states that Jacobs ruled on the joinder of two kidnapping charges under 18 U.S.C.
1201. (R. 45 at 5.) However, the defendant in Jacobs was challenging the joinder of a Tennessee abduction event,
which charged kidnapping, interstate domestic violence and causing the crossing of state line, use of a deadly
weapon during a crime of violence, and interstate violation of protective order, with a separate and distinct Indiana
abduction event, which charged interstate domestic violence and crossing of state line, possession of a firearm while
subject to a court order, and use of deadly or dangerous weapon during a crime of violence. Both events involved
the defendant’s wife as the victim and both events were spurred by the defendant’s wife filing criminal charges
against the defendant.


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admissibility argument is not baseless, litigation has yet to commence on the admissibility of any

evidence, and admissibility is an entirely different question than guilt.

 IV.        Fed. R. Cr. P. 14 also requires severance because Mr. Conley would suffer
            compelling, specific, and actual prejudice if tried on all counts at the same time.

       Although severance is mandated under Rule 8(a), severance is also warranted under Fed.

R. Crim. P. 14(a), because Mr. Conley would suffer compelling, specific, and actual prejudice if

all counts were tried together. See United States v. Saadey, 393 F.3d 669, 678 (6th Cir. 2005).

The Government seems to acknowledge, by virtue of its 404(b) argument, that the factual

allegations supporting Count 1 would tend to sway the jury in considering Mr. Conley’s guilt on

Counts 2-14, irrespective of any admissibility arguments the defense might assert in seeking to

exclude such 404(b) evidence. This acknowledgement, in and of itself, supports a finding that

Mr. Conley would endure prejudice if forced to stand trial on all counts at once.

       Joinder is appropriate “when the joined counts are logically related, and there is a large

area of overlapping proof.” United States v. Graham, 275 F.3d 490, 512 (6th Cir. 2001); United

States v. Wirsing, 719 F.2d 859, 863 (6th Cir. 1983). Here, there simply is no large area of

overlapping proof. The Government contends that Mr. Conley meet each of the females through

a dating app, but as far as elemental proof, there are no similarities. The Government would

necessarily have to prove some illegal sexual conduct related to Count 1, but such evidence is

not required for Counts 2-14, though it is alleged that Mr. Conley had sexual relations with the

female involved with Counts 2-14. Further, the kidnapping in Count 2 requires proof the Mr.

Conley inveigled or decoyed himself in carrying away the female, which is not required for

Count 1, but which the Government alleges in its factual allegations supporting Count 1. As

articulated in the Motion, a jury hearing evidence of sexual conduct associated with a kidnapping

offense, even though not an element of kidnapping, could not be expected to separate out that



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evidence when considering the evidence related to an interstate transportation for prostitution

charge, where sexual conduct is an element of the offense. The compelling, specific, and actual

prejudice Mr. Conley would suffer is evidenced by the Government’s own recitation of factual

allegations in the Response.

  V.        A limiting instruction where the prejudicial evidence is purposely being
            introduced is insufficient to cure the prejudice.

       In a last ditch effort to permit it to try Count 1 with Counts 2-14, the Government asks

the Court to give a limiting instruction in order to, somehow, have the jury limit the

consideration of prejudicial evidence. The Government’s Response is unclear how such an

instruction would be given, how such an instruction would be worded, and, most importantly,

how it would cure the prejudice. This would not be an instance in where the introduction of

evidence would be a mere accidental blurting out improper evidence, see United States v.

Forrest, 17 F.3d 916 (6th Cir. 1994), but an intentional introduction of evidence designed to

prejudice Mr. Conley and prevent him from obtaining a fair trial, see Tolbert v. Jago, 607 F. 3d

753, 757 (6th Cir. 1979) (Engel, J., concurring). Such a limiting instruction would be improperly

asking the jury to unring the bell.

                                         CONCLUSION

       For all of the reasons articulated above, and for all of the reasons raised in the Motion to

Sever, Mr. Conley respectfully requests that this Court sever Count 1 of the Second Superseding

Indictment from Counts 2-14 because of improper misjoinder, in the first instance, under Rule

8(a). Alternatively, Mr. Conley seeks the severance of Count 1 under Rule 14(a) because a trial

on all Counts would cause compelling, specific, and actual prejudice that a limiting instruction

could not cure.




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                                                      Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 18th day of November, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing
to all counsel of record.


                                                      /s/ Joshua F. Barnette
                                                      Joshua F. Barnette




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